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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION



AISHA DUTCHER, an individual,                         CIVIL ACTION

                    Plaintiff,
                                                      Case No. 2:23-cv-1236
v.
                                                      Judge:

RPM LIVING, LLC, a Texas limited liability            Mag. Judge:
company,

                    Defendant.


               COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, AISHA DUTCHER (“DUTCHER” or

“Plaintiff”), by and through undersigned counsel, and states the following for her

Complaint:

                                 CAUSES OF ACTION

      1.     This is an action brought under the Americans with Disabilities Act

(ADA) and Florida Civil Right Act (FCRA) for (1) discrimination in violation of

the ADA, (2) discrimination in violation of the FCRA, (3) retaliation in violation of

the ADA, and (4) retaliation in violation of the FCRA.




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                                     PARTIES

         2.   The Plaintiff, AISHA DUTCHER (“DUTCHER”) is an individual

who at all material times worked for the Defendant in Collier County, Florida.

         3.   Defendant, RPM LIVING, LLC (“Defendant”) is a Texas limited

liability company that employed DUTCHER in Collier County, Florida. At all

material times, the Defendant employed greater than fifteen (15) employees.

                          JURISDICTION AND VENUE

         4.   This Court has jurisdiction of this matter under 28 U.S.C. §1331, and

has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.

§1367.

         5.   Venue is proper in the United States District Court for the Middle

District of Florida because the Plaintiff resides in Collier County, and Defendant

conducts business in, and some or all of the events giving rise to Plaintiff’s claims

occurred in Collier County, Florida, which is within the Middle District of Florida.

Venue is proper in the Fort Myers Division under Local Rule 1.04 since Collier

County is within the Fort Myers Division.

         6.   DUTCHER received her Notice of Right to Sue from United States

Equal Employment Opportunity Commission (“EEOC”) on October 2, 2023 and

the instant Complaint is filed within the time frame required under the law. (A

true and accurate copy of the Notice of Right to Sue is attached as Exhibit 1.)



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                              GENERAL ALLEGATIONS

      7.      DUTCHER began her employment with Defendant on or about

November 3, 2022, and was employed as a community manager.

      8.      DUTCHER always performed her assigned duties in a professional

manner and was able to do her job despite being a qualified person with a

disability.

      9.      On January 28, 2023, DUTCHER was involved in a car accident

wherein she sustained injuries that caused musculo-skeletal disabilities, which

affect her ability to walk and work.

      10.     DUTCHER promptly reported this to the Defendant, and requested

to work remotely for a few weeks while she recuperated since she was able to

perform all of the essential functions of her job remotely.

      11.     The Defendant arbitrarily denied this request and refused to engage

in the interactive process.

      12.     DUTCHER then provided the Defendant with further details in

regard to her need for reasonable accommodations on or about February 8, 2023.

      13.     Rather than attempt to accommodate her disability and engage in the

interactive process, the Defendant terminated DUTCHER’s employment on

February 15, 2023.




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      14.    At all material times, the Defendant was aware of DUTCHER’s

disability and, consequently, her protected class, which is the basis for its

discriminatory employment practices toward her.

      15.    There was no cause given at the time for the termination and the

termination served no legitimate business purpose.

COUNT I – VIOLATION OF THE AMERICANS WITH DISABILITIES ACT,
                        AS AMENDED

      16.    Plaintiff incorporates by reference Paragraphs 1-15 of this Complaint

as though fully set forth below.

      17.    At all relevant times, DUTCHER was an individual with a disability

within the meaning of the ADAAA.

      18.    Specifically, DUTCHER has impairments that would substantially

limit one or more major life activities and bodily functions, has a record of the

impairment, and is regarded by the Defendant as having such impairments.

      19.    DUTCHER is a qualified individual as that term is defined in the

ADAAA.

      20.    DUTCHER is an individual who, with reasonable accommodation, at

all relevant times could perform the essential functions of the job with the

Defendant.

      21.    At all material times, DUTCHER was an employee, and the

Defendant was her employer covered by and within the meaning of the ADAAA.


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      22.    DUTCHER has disabilities, which qualify under the ADAAA.

      23.    Defendant discriminated against DUTCHER with respect to the

terms, conditions, and privileges of employment because of her disabilities.

      24.    Defendant conducted itself with malice or with reckless indifference

to DUTCHER’s federally protected rights.

      25.    Defendant discriminated against DUTCHER in violation of the

ADAAA by interfering with her enjoyment of all benefits, privileges, terms, and

conditions of her employment.

      26.    The conduct of Defendant altered the terms and conditions of

DUTCHER’s employment and DUTCHER suffered negative employment action

in the form of discipline and termination.

      27.    As a direct and proximate result of the violations of the ADAAA, as

referenced and cited herein, DUTCHER has lost all of the benefits and privileges

of her employment and has been substantially and significantly injured in her

career path that was anticipated from her employment.

      28.    As a direct and proximate result of the violations of the ADAAA as

referenced and cited herein, and as a direct and proximate result of the prohibited

acts perpetrated against her, DUTCHER is entitled to all relief necessary to make

her whole.

      29.    As a direct and proximate result of the Defendant’s actions,

DUTCHER has suffered damages, including but not limited to, a loss of

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employment opportunities, loss of past and future employment income and fringe

benefits, humiliation, and non-economic damages for physical injuries, mental

and emotional distress.

          30.      DUTCHER has exhausted her administrative remedies and this

count is timely brought.

          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

right, and:

   i.           Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with Defendant, plus interest, including but not limited to

                lost salary and bonuses;

   ii.          Front pay, including benefits, insurance costs, benefits costs, and

                retirement benefits;

   iii.         Reimbursement of all expenses and financial losses Plaintiff has incurred

                as a result of Defendant’s actions;

   iv.          Reasonable attorney's fees plus costs;

   v.           Compensatory damages;

   vi.          Punitive damages, and;

   vii.         Such other relief as this Court shall deem appropriate.




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     COUNT II – VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT-
                   DISABILITY DISCRIMINATION

      31.    Plaintiff incorporates by reference Paragraphs 1-15 of this Complaint

as though fully set forth below.

      32.    At all relevant times, DUTCHER was an individual with a disability

within the meaning of the FCRA.

      33.    Specifically, DUTCHER has impairments that would substantially

limit one or more major life activities and bodily functions, has a record of the

impairment, and is regarded by the Defendant as having such impairments.

      34.    DUTCHER is a qualified individual as that term is defined in the

FCRA.

      35.    DUTCHER is an individual who, with reasonable accommodation, at

all relevant times could perform the essential functions of the job with the

Defendant.

      36.    At all material times, DUTCHER was an employee, and the

Defendant was her employer covered by and within the meaning of the FCRA.

      37.    DUTCHER has disabilities, which qualify under the FCRA.

      38.    Defendant discriminated against DUTCHER with respect to the

terms, conditions, and privileges of employment because of her disabilities.

      39.    Defendant conducted itself with malice or with reckless indifference

to DUTCHER’s protected rights under Florida law.


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      40.    Defendant discriminated against DUTCHER in violation of the FCRA

by interfering with her enjoyment of all benefits, privileges, terms, and conditions

of her employment.

      41.    The conduct of the Defendant altered the terms and conditions of

DUTCHER’s employment and DUTCHER suffered negative employment action

in the form of discipline and termination.

      42.    As a direct and proximate result of the violations of the FCRA, as

referenced and cited herein, DUTCHER has lost all of the benefits and privileges

of her employment and has been substantially and significantly injured in her

career path that was anticipated from her employment.

      43.    As a direct and proximate result of the violations of the FCRA as

referenced and cited herein, and as a direct and proximate result of the prohibited

acts perpetrated against her, DUTCHER is entitled to all relief necessary to make

her whole.

      44.    As a direct and proximate result of the Defendant’s actions,

DUTCHER has suffered damages, including but not limited to, a loss of

employment opportunities, loss of past and future employment income and fringe

benefits, humiliation, and non-economic damages for physical injuries, mental

and emotional distress.

      45.    DUTCHER has exhausted her administrative remedies and this

count is timely brought.

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          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

right, and:

   i.           Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with Defendant, plus interest, including but not limited to

                lost salary and bonuses;

   ii.          Front pay, including benefits, insurance costs, benefits costs, and

                retirement benefits;

   iii.         Reimbursement of all expenses and financial losses Plaintiff has incurred

                as a result of Defendant’s actions;

   iv.          Reasonable attorney's fees plus costs;

   v.           Compensatory damages;

   vi.          Punitive damages, and;

   vii.         Such other relief as this Court shall deem appropriate.

                COUNT III – VIOLATION OF THE ADA- RETALIATION

          46.      Plaintiff incorporates by reference Paragraphs 1-15 of this Complaint

as though fully set forth below.

          47.      Following DUTCHER’s request for reasonable accommodation,

Defendant retaliated by altering the terms and conditions of her employment by

terminating DUTCHER.



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      48.      Said protected activity was the proximate cause of Defendant’s

negative employment actions against DUTCHER including changed working

conditions, discipline, and ultimately termination.

      49.      Instead of ceasing its disparate treatment based upon disability,

Defendant retaliated against DUTCHER via changed working conditions,

discipline, and termination.

      50.      The acts, failures to act, practices and policies of Defendant set forth

above constitute retaliation in violation of the ADA.

      51.      As a direct and proximate result of the violations of the ADA, as

referenced and cited herein, DUTCHER has lost all of the benefits and privileges

of her employment and has been substantially and significantly injured in her

career path.

      52.      As a direct and proximate result of the violations of the ADA, as

referenced and cited herein, and as a direct and proximate result of the prohibited

acts perpetrated against her, DUTCHER is entitled to all relief necessary to make

her whole as provided for under the ADA.

      53.      As a direct and proximate result of Defendant’s actions, DUTCHER

has suffered damages, including but not limited to, a loss of employment

opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and

emotional distress.

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      54.     DUTCHER has exhausted her administrative remedies and this

count is timely brought.

      WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

right, and:

      i.      Back pay and all other benefits, perquisites and other compensation

              for employment which plaintiff would have received had she

              maintained her position with the Defendant, plus interest, including

              but not limited to lost salary and bonuses;

      ii.     Front pay, including raises, benefits, insurance costs, benefits costs,

              and retirement benefits;

      iii.    Reimbursement of all expenses and financial losses Plaintiff has

              incurred as a result of the Defendant’s actions;

      iv.     Reasonable attorney's fees plus costs;

      v.      Compensatory damages;

      vi.     Punitive damages, and;

      vii.    Such other relief as this Court shall deem appropriate.

COUNT IV – VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT OF 1992-
                       RETALIATION

      55.     Plaintiff incorporates by reference Paragraphs 1-15 of this Complaint

as though fully set forth below.




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      56.      Following DUTCHER’s request for reasonable accommodation,

Defendant retaliated by altering the terms and conditions of her employment by

terminating DUTCHER.

      57.      Said protected activity was the proximate cause of Defendant’s

negative employment actions against DUTCHER including changed working

conditions, discipline, and ultimately termination.

      58.      Instead of ceasing its disparate treatment based upon disability,

Defendant retaliated against DUTCHER via changed working conditions,

discipline, and termination.

      59.      The acts, failures to act, practices and policies of Defendant set forth

above constitute retaliation in violation of the FCRA.

      60.      As a direct and proximate result of the violations of the FCRA, as

referenced and cited herein, DUTCHER has lost all of the benefits and privileges

of her employment and has been substantially and significantly injured in her

career path.

      61.      As a direct and proximate result of the violations of the FCRA, as

referenced and cited herein, and as a direct and proximate result of the prohibited

acts perpetrated against her, DUTCHER is entitled to all relief necessary to make

her whole as provided for under the FCRA.

      62.      As a direct and proximate result of Defendant’s actions, DUTCHER

has suffered damages, including but not limited to, a loss of employment

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opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and

emotional distress.

      63.     DUTCHER has exhausted her administrative remedies and this

count is timely brought.

      WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

right, and:

      i.      Back pay and all other benefits, perquisites and other compensation

              for employment which plaintiff would have received had she

              maintained her position with the Defendant, plus interest, including

              but not limited to lost salary and bonuses;

      ii.     Front pay, including raises, benefits, insurance costs, benefits costs,

              and retirement benefits;

      iii.    Reimbursement of all expenses and financial losses Plaintiff has

              incurred as a result of Defendant’s actions;

      iv.     Reasonable attorney's fees plus costs;

      v.      Compensatory damages;

      vi.     Punitive damages, and;

      vii.    Such other relief as this Court shall deem appropriate.




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                           DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, AISHA DUTCHER, by and through her

undersigned attorneys, and demands a jury trial under Federal Rule of Civil

Procedure 38 on all issues triable of right by a jury in this action.


                                 Respectfully submitted,


Dated: December 29, 2023         /s/ Benjamin H. Yormak
                                 Benjamin H. Yormak
                                 Florida Bar Number 71272
                                 Lead Counsel for Plaintiff
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